      Case 0:21-cv-61923-RAR Document 3 Entered on FLSD Docket 09/13/2021 Page 1 of 5

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                      Veronica Quiroga,                              )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 0:21-cv-61923-RAR
                                                                     )
         Equifax Information Services, LLC,                          )
  Hyundai Capital America, Inc.,Healthcare Revenue                   )
           Recovery Group, Alchro, Inc.,                             )
        Portfolio Recovery Associates, LLC                           )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Healthcare Revenue Recovery Group,
                                           d/b/a ARS Account Resolution Services
                                           c/o Corporation Service Company,
                                           1201 Hays Street,
                                           Tallahassee, FL, 32301.



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Justin Zeig, Esq.
                                           3475 Sheridan Street, Ste 310
                                           Hollywood, FL 33021
                                           Phone: (754) 217-3084



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:             09/13/2021
                                                                                         Signature of Clerk or Deputy Clerk



                                                                                                     s/ Ketly Pierre
      Case 0:21-cv-61923-RAR Document 3 Entered on FLSD Docket 09/13/2021 Page 2 of 5

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
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                                                       SouthernDistrict
                                                    __________ Districtof
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                                                                          Florida


                      Veronica Quiroga,                              )
                                                                     )
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                            Plaintiff(s)                             )
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                                v.                                           Civil Action No. 0:21-cv-61923-RAR
                                                                     )
         Equifax Information Services, LLC,                          )
  Hyundai Capital America, Inc.,Healthcare Revenue                   )
           Recovery Group, Alchro, Inc.,                             )
        Portfolio Recovery Associates, LLC                           )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Equifax Information Services, LLC
                                           c/o Corporation Service Company
                                           1201 Hays Street
                                           Tallahassee, FL 32301




          A lawsuit has been filed against you.

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the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Justin Zeig, Esq.
                                           3475 Sheridan Street, Ste 310
                                           Hollywood, FL 33021
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                                                                                                     s/ Ketly Pierre
      Case 0:21-cv-61923-RAR Document 3 Entered on FLSD Docket 09/13/2021 Page 3 of 5

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                      Veronica Quiroga,                                )
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                            Plaintiff(s)                               )
                                                                       )
                                v.                                           Civil Action No. 0:21-cv-61923-RAR
                                                                       )
         Equifax Information Services, LLC,                            )
  Hyundai Capital America, Inc.,Healthcare Revenue                     )
           Recovery Group, Alchro, Inc.,                               )
        Portfolio Recovery Associates, LLC                             )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Alchro, Inc., d/b/a First Federal Credit & Collections
                                           1940 Harrison St, Ste 202
                                           Hollywood, FL 33020




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Justin Zeig, Esq.
                                           3475 Sheridan Street, Ste 310
                                           Hollywood, FL 33021
                                           Phone: (754) 217-3084



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                                                                                                      s/ Ketly Pierre
      Case 0:21-cv-61923-RAR Document 3 Entered on FLSD Docket 09/13/2021 Page 4 of 5

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                      Veronica Quiroga,                                )
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                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No. 0:21-cv-61923-RAR
                                                                       )
         Equifax Information Services, LLC,                            )
  Hyundai Capital America, Inc.,Healthcare Revenue                     )
           Recovery Group, Alchro, Inc.,                               )
        Portfolio Recovery Associates, LLC                             )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Hyundai Capital America, Inc., d/b/a Hyundai Motor Finance
                                           c/o NRAI Services, Inc.
                                           1200 S. Pine Island Rd
                                           Plantation, FL 33324




          A lawsuit has been filed against you.

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are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Justin Zeig, Esq.
                                           3475 Sheridan Street, Ste 310
                                           Hollywood, FL 33021
                                           Phone: (754) 217-3084



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                                                                                           Signature of Clerk or Deputy Clerk


                                                                                                        s/ Ketly Pierre
      Case 0:21-cv-61923-RAR Document 3 Entered on FLSD Docket 09/13/2021 Page 5 of 5

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
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                      Veronica Quiroga,                              )
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                                                                     )
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                            Plaintiff(s)                             )
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                                v.                                           Civil Action No. 0:21-cv-61923-RAR
                                                                     )
         Equifax Information Services, LLC,                          )
  Hyundai Capital America, Inc.,Healthcare Revenue                   )
           Recovery Group, Alchro, Inc.,                             )
        Portfolio Recovery Associates, LLC                           )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Portfolio Recovery Associates, LLC
                                           c/o Corporation Service Company
                                           1201 Hays Street
                                           Tallahassee, FL 32301




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                                           Hollywood, FL 33021
                                           Phone: (754) 217-3084



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Date:             09/13/2021
                                                                                         Signature of Clerk or Deputy Clerk


                                                                                                   s/ Ketly Pierre
